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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  :
                                          :
                        Complainant       :
                                          :
            v.                            :                    Case No. 1:21-CR-725 (RDM)
                                          :
JARED SAMUEL KASTNER,                     :
                                          :
                        Defendant.        :
                                          :
__________________________________________:


                      WITHDRAW ERRATA FILED IN ERROR
                     DEFENDANT JARED SAMUEL KASTNER’s
                MOTION TO APPEAR AT SENTENCING MEMORANDUM
                     BY VIDEO CONFERENCE TECHNOLOGY

       Defendant JARED SAMUEL KASTNER (“Kastner”), by and through undersigned

counsel, hereby respectfully moves the Court to withdraw and delete the motion filed at ECF Dkt

# 141. With apologies, due to a word processing mistake of staff in which a previous motion

was copied without updating the caption, the motion for another case got filed in the wrong case.

Counsel apologizes to the Court for the inconvenience.

July 19, 2023                                RESPECTFULLY SUBMITED,

                                             John M. Pierce, Esq.
                                             Counsel for Defendant

                                             /s/ John Pierce

                                             JOHN PIERCE LAW
                                             21550 Oxnard Street 3rd Floor, PMB #172
                                             Woodland Hills, CA 91367
                                             jpierce@johnpiercelaw.com
                                             (213) 279-7846

                                CERTIFICATE OF SERVICE
         Case 1:21-cr-00725-MAU Document 144 Filed 07/19/23 Page 2 of 2




       I hereby certify that my law firm is filing the foregoing with the Court by its ECF record-
keeping and filing system, which automatically provides a copy to:

                                 MATTHEW M. GRAVES
                                 United States Attorney

                                 Cytheria Jernigan
                                 U.S. Attorney's Office
                                 300 Fannin Street Suite 3201
                                 Shreveport, LA 71101
                                 318-676-3611
                                 318-676-3663 (fax)
                                 cytheria.jernigan@usdoj.gov

                                 Will Widman
                                 DOJ-CRM
                                 1301 New York Avenue NW
                                 Washington, DC 20530
                                 (202) 353-8611
                                 will.widman@usdoj.gov

                                 Stephen F. Brennwald
                                 BRENNWALD & ROBERTSON, LLP
                                 922 Pennsylvania Avenue, SE
                                 Washington, DC 20003
                                 (301) 928-7727
                                 (202) 544-7626 (fax)
                                 sfbrennwald@cs.com
                                 Attorney for Kenneth Duncan Massie

                                 Kira Anne West
                                 LAW OFFICE OF KIRA WEST
                                 712 H St, NE
                                 Unit 509
                                 Washington, DC 20002
                                 (202) 236-2042
                                 kiraannewest@gmail.com
                                 Attorney for Luke Faulkner

                                                           /s/
                                             John M. Pierce




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